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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

  GARRY EARL SHIDLER,                       )
                                            )
                       Plaintiff            )
                                            )     CAUSE NO. 3:05-CV-804 RM
         v.                                 )
                                            )
  ROBERT MOORE, et al.                      )
                                            )
                       Defendants           )

                                   OPINION AND ORDER

         The defendants, by counsel, filed a motion for judgment on the pleadings pursuant

  to FED. R. CIV. P. 12(c). They argue that monetary damages are not available against

  individual defendants in an action pursuant to the Religious Land Use and

  Institutionalized Persons Act, 42 U.S.C. § 2000cc (RLUIPA). This is not the first time that

  they have raised this argument with the court. This same argument was presented in their

  motion for summary judgment and it was rejected. Though they now cite additional case

  law for their position, this motion is, nevertheless, merely a motion to reconsider the

  summary judgment motion based on subsequent non-binding authority. Though the

  defendants argue that the Seventh Circuit would be highly persuaded by Smith v. Allen,

  502 F.3d 1255 (11th Cir. 2007), such an result is not so self evident as to warrant

  reconsideration in this case.

         Particularly in evolving areas of the law such as this one, new cases (which add

  weight to one side or the other of an ongoing debate) are handed down regularly. Though

  changes in binding authority require reconsideration of prior rulings in a ongoing case, it
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  would result in unnecessarily protracted litigation and judicial inefficiency if courts

  regularly reconsidered prior rulings based merely on new, potentially persuasive case law.

  This is simply not the proper time in this litigation to present this argument. If the

  defendants lose at trial, this argument can then be properly presented on appeal.

        For the foregoing reasons, the court DENIES the motion for judgment on the

  pleadings (docket # 124) and REAFFIRMS the trial deadlines set in this court’s order of

  February 6, 2008.

        SO ORDERED.

        Dated this 27th day of February, 2008.


                                                     /s/ Robert L. Miller, Jr.
                                                   Chief Judge
                                                   United States District Court




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